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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          CASE NO: 18-23894-CV-MIDDLEBROOKS
 XIAOYUN CHEN, et al.,
       Plaintiffs,
 v.
 JOSEPH J. WALSH, SR., et al.,
       Defendants,
 v.
 ROYAL PALM TOWN CENTER IV, LLLP,
       Nominal Defendant.
                                                  /

                                     FINAL JUDGMENT

       THIS CAUSE comes before the Court upon the Court’s Order on Motion for Default Final

 Judgment (DE 124) and Order on Damages (DE 139). Consistent with the same, and pursuant to

 Federal Rule of Civil Procedure 58, it is hereby ORDERED AND ADJUDGED that:

        (1) Final judgment is ENTERED in favor of Plaintiffs Xiaoyun Chen, Peixuan Wang,

            Hezhang Chen, Yang Zhao, Donglin Gu, Jialin Han, Wen Shen, Yi Gao, Lijuan Fan,

            Dexiong Hu, Wen Zhang, Xiuqing Wang, Tianjun Li, M.T. Nguyen, Ngoc Thi Do,

            Yongliang Huang, Konstantin Galkin, Huong Thi Thu Nguyen, and Ruihong Ju,

            individually, and derivatively as limited partners of Nominal Defendant Royal Palm

            Town Center IV, LLLP, and against Defendant Joseph J. Walsh, Sr., on Count I

            (fraudulent misrepresentation claim) and Count IX (pp. 27–29) (derivative breach of

            fiduciary duty claim) of the Amended Complaint.

        (2) Nominal Defendant Royal Palm Town Center IV, LLLP, is AWARDED damages

            against Defendant Joseph J. Walsh, Sr., in the total amount of $26 million (plus any
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           unpaid interest due under the Loan and Security Agreement (DE 52-1)) for the derivative

           breach of fiduciary duty claim (Count IX (pp. 27–29) of the Amended Complaint).

        (3) Plaintiff Konstantin Galkin is AWARDED damages against Defendant Joseph J. Walsh,

           Sr., in the total amount of $69,090.00 for the fraudulent misrepresentation claim (Count

           I of the Amended Complaint).

        (4) Plaintiff Huong Thi Thu Nguyen is AWARDED damages against Defendant Joseph J.

           Walsh, Sr., in the total amount of $60,000.00 for the fraudulent misrepresentation claim

           (Count I of the Amended Complaint).

        (5) Plaintiffs Konstantin Galkin and Huong Thi Thu Nguyen are AWARDED costs against

           Defendant Joseph J. Walsh, Sr., in the total amount of $936.40.

        (6) This judgment shall bear interest at the rate prescribed by 28 U.S.C. § 1961.

        (7) The Clerk of Court shall CLOSE THIS CASE.

        (8) Any pending motions are DENIED AS MOOT.

       SIGNED in Chambers at West Palm Beach, Florida, this 8th day of March, 2021.




                                                            Donald M. Middlebrooks
                                                            United States District Judge

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